Case 3:20-cv-01018-RAH-SRW Document 115-6 Filed 12/14/21 Page 1 of 3




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    Case 3:20-cv-01018-RAH-SRW
         3:20-cv-01018-RAH-SRW Document
                               Document 115-6
                                        106 Filed
                                              Filed09/17/21
                                                    12/14/21 Page
                                                              Page4 2ofof153




    III.    FACTUAL BACKGROUND

         On October 4, 2018, Ulrich was a 20-year-old student at Auburn University,

living at an apartment complex known as 319 Bragg. The rear parking lot of 319

Bragg abutted railroad tracks owned and maintained by CSX. (Doc. 61 at 2–3.) To

attend her classes, Ulrich had to cross over the tracks at least twice daily. (Doc. 85-

1 at 3.)

         On that tragic afternoon, Ulrich was returning to 319 Bragg from her classes.

(Doc. 61 at 2, 13; Doc. 85-1; Doc. 85-20.) The weather was clear, and the line of

sight up and down the tracks was unobstructed, except for the vehicles stopped at

the grade crossing that were waiting to cross. (Doc. 85-23; Doc. 103-1; Doc. 104-1

at 3.)

         Video of the accident shows that as a CSX train traveled down the tracks at

approximately 38 mph (a speed well below the 60 mph limit),1 Ulrich approached

the marked grade crossing from the right as she walked down North Donahue Drive.

(Doc. 69-1 at 5; Doc. 73-1; Doc. 103-1.) When she approached the grade crossing,

the crossing gate was activated and down, thereby blocking vehicles and pedestrians

from crossing over the tracks while the train approached. (Doc. 69-1 at 5; Doc. 103-

1; Doc. 103-2; Doc. 104-1 at 3.) The mast-mounted crossing lights were activated


1
  The train had a video camera, called a Locomotive Digital Recorder (LDR), in the front of the
train that recorded the accident. (See Doc. 73-1.) Ulrich does not recall any details from the
accident. (Doc. 85-1.)
                                              4
    Case
    Case 3:20-cv-01018-RAH-SRW
         3:20-cv-01018-RAH-SRW Document
                               Document 115-6
                                        106 Filed
                                              Filed09/17/21
                                                    12/14/21 Page
                                                              Page5 3ofof153




and flashing (Doc. 69-1 at 5; Doc. 103-1; Doc. 103-2; Doc. 104-1 at 3), and the

train’s horn was sounding (Doc. 69-1 at 4).

      Despite all these warnings, Ulrich proceeded to walk toward the grade

crossing while also talking on her cellular phone. She then turned to her right within

feet of the activated gate. (Doc. 61 at 13; Doc. 69-1 at 5, 61; Doc. 83-1 at 2; Doc.

85-20; Doc. 104-1 at 3.) From there, she walked off the grade crossing and onto the

crushed granite right-of-way parallel with the tracks with her back to the

approaching train. As she alleges in her Complaint, “she was on her phone talking

to her mother while attempting to cross CSX’s tracks via her usual and customary

path, as she had done hundreds of times before.” (Doc. 61 at 13.) Tragically, within

feet of the grade crossing, Ulrich was struck by the train’s pilot (sometimes called a

cow catcher). Fortunately, she survived the accident.

   IV.    PROCEDURAL HISTORY

      Ulrich initially filed this lawsuit on September 25, 2020, in the Northern

District of Illinois against CSX Transportation, Inc., 319 Bragg Student Housing

Auburn, AL LLC, and Greystar Worldwide, LLC. (Doc. 1.) The case subsequently

was transferred to this Court in the interests of justice under 28 U.S.C. § 1631 (2018).

(Doc. 28.)

      On the last day to amend the pleadings, Ulrich filed a First Amended

Complaint but without seeking leave of court and without the consent of opposing


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